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              **** EXECUTION SCHEDULED FOR JANUARY 15, 2021****

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE FEDERAL                         )
BUREAU OF PRISONS’ EXECUTION                         )
PROTOCOL CASES,                                      )
                                                     )
Lead case:     Roane et al. v. Barr et al.           )
                                                     )
                                                     )      Case No. 19-mc-00145-TSC
                                                     )
THIS DOCUMENT RELATES TO:                            )
                                                     )
ALL CASES                                            )
                                                     )
Roane, et al. v. Barr, et al., No. 05-2337           )

               MOTION FOR LEAVE OF COURT FOR DUSTIN HIGGS
             TO FILE AN AMENDED AND SUPPLEMENTAL COMPLAINT

       Plaintiff Dustin Higgs respectfully requests leave of Court to file an amended and

supplemental complaint pursuant to Fed. R. Civ. P. 15(a) and (d), in order to assert two newly

arising claims that (1) the Government’s planned use of pentobarbital to effectuate his recently

announced execution would be an unconstitutional ex post facto punishment; and (2) the

Government has arbitrarily selected Mr. Higgs for execution, in violation of the Fifth and Eighth

Amendments to the United States Constitution and the Administrative Procedure Act (APA).

       1.      Mr. Higgs is scheduled for execution on January 15, 2021, five days before

President-Elect Joseph R. Biden, Jr., will formally assume the office on January 20, 2021. The

Government announced Mr. Higgs’s execution date on November 20, 2020. See ECF No. 330.

       2.      As explained in the accompanying amended and supplemental complaint, when

Mr. Higgs was sentenced to death, the FDPA required (and continues to require) that capital

sentences be implemented “in the manner prescribed by the law of the State which the sentence
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is imposed.” 18 § U.S.C. 3596(a). Mr. Higgs was sentenced to death in the United States District

Court for the District of Maryland on January 3, 2001, for killings that occurred on January 27,

1996. At the time of Mr. Higgs’s crimes and sentence, Maryland law required that “[t]he manner

of inflicting the punishment of death shall be the continuous intravenous administration of a

lethal quantity of an ultrashort acting barbiturate or other similar drug in combination with a

chemical paralytic agent[.]” MD Code Ann., Corr.’ Servs. § 3-905(a) (repealed by Acts 2013)

(emphasis added).

       3.      Defendants intend to execute Mr. Higgs with pentobarbital, which is a short-

acting barbiturate, not an ultrashort-acting barbiturate. Declaration of Craig W. Stevens, Ph.D, at

⁋ 8 (Dec. 2, 2020), Exhibit A. Short-acting barbiturates like pentobarbital have a slower onset of

action, and their effects take significantly longer to begin. Id. at ⁋⁋ 8-9. The longer it takes for

the anesthetic properties of the barbiturate administered to take effect, the more pain Mr. Higgs

will experience prior to the onset of anesthesia or death, including pain from flash pulmonary

edema while sensate. Defendants’ use of pentobarbital, instead of an ultrashort-acting barbiturate

as required by the relevant Maryland statutes, therefore increases Mr. Higgs’s punishment and is

unconstitutional as an ex post facto law when applied to Mr. Higgs. See Weaver v. Graham, 450

U.S. 24, 28 (1981); U.S. Const. Art. I § 9 cl. 3.

       4.      Additionally, Defendants have arbitrarily selected Mr. Higgs for execution in

violation of the Fifth and Eighth Amendments to the U.S. Constitution and the APA. See 5

U.S.C. § 706(2). As explained in the amended and supplemental complaint, the federal

government had not carried out a death sentence for more than 17 years when it began executing

prisoners in July 2020 during a global pandemic. Defendants have not codified, memorialized, or

otherwise disclosed any set of standards or criteria by which the government has selected



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prisoners for execution, including those with scheduled execution dates in December 2020 and

January 2021. Of the 54 prisoners on federal death row, eight were sentenced to death earlier

than Mr. Higgs and have not received execution dates. The absence of discernible criteria for

deciding which prisoners will be scheduled for execution, as well as the Attorney General’s

exercise of unilateral discretion in selecting those prisoners and scheduling their deaths, have

created a completely arbitrary process for determining who lives and who dies. The Government

has compounded the arbitrariness of selecting Mr. Higgs for execution by scheduling and

intending to carry out his execution during a lame-duck presidency, and only a mere five days

before a new president takes office. The last time the United States government carried out an

execution between a presidential election and the inauguration of the new president was nearly

132 years ago, on January 25, 1889.

       5.       Under Rule 15(a)(2), a “court should freely give leave [to amend a pleading]

when justice so requires.” Fed. R. Civ. P. 15(a)(2); see also Belizan v. Hershon, 434 F.3d 579,

582 (D.C. Cir. 2006) (explaining that Rule 15 “is to be construed liberally”). In the absence of

“undue delay, bad faith or dilatory motive . . . , repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party . . . , [or] futility,” “the

leave sought should, as the rules require, be ‘freely given.’” Foman v. Davis, 371 U.S. 178, 182

(1962) (quoting Fed. R. Civ. P. 15(a)); see also Turan Petroleum, Inc. v. Ministry of Oil and Gas

of Kazakhstan, 406 F. Supp. 3d 1, 8 (D.D.C. 2019) (same). In this Circuit, “it is an abuse of

discretion to deny leave to amend unless there is sufficient reason.” Firestone v. Firestone, 76

F.3d 1205, 1208 (D.C. Cir. 1996). Under Rule 15, “the non-movant generally carries the burden

in persuading the court to deny leave to amend.” Bryant v. United Sates, 2020 WL 5969241, at

*2 (D.D.C. Oct. 8, 2020) (quoting Nwachukwu v. Karl, 222 F.R.D. 208, 211 (D.D.C. 2004)).



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       6.      Mr. Higgs’s proposed amendment alleging that the use of pentobarbital to carry

out his recently scheduled execution is unconstitutional as an ex post facto law when applied to

him “do[es] not radically alter the scope and nature of the action” and thus should be “especially

favored.” United States ex rel. Westrick v. Second Chance Body Armor, Inc., 301 F.R.D. 5, 8

(D.D.C. 2013) (quoting Estate of Gaither ex rel. Gaither v. District of Columbia, 272 F.R.D.

248, 252 (D.D.C. 2011)). Moreover, as the Supreme Court instructed in Foman when explaining

Rule 15(a)’s “mandate,” a plaintiff “ought to be afforded an opportunity to test his claim on the

merits” “[i]f the underlying facts or circumstances . . . may be a proper subject of relief.” 371

U.S. at 182. This is especially true in a capital case, where Mr. Higgs’s life is at stake. Mr. Higgs

seeks in good faith to amend his complaint only a month after Defendants filed their responsive

pleading to his original complaint, and even as the Government has not yet definitively specified

a place or method for his execution. See ECF No. 306; cf., Ray v. CLH New York Ave, LLC, 2020

WL 5594064, at *3-4 (D.D.C. Sept. 18, 2020) (allowing both parties to amend pleadings “less

than one month before the close of discovery” upon finding that allowing the amendment “would

not be unjust”).

       7.      With respect to Mr. Higgs’s arbitrary selection claim, Rule 15(d) provides for a

supplemental pleading “setting out any transaction, occurrence, or event that happened after the

date of the pleading to be supplemented.” In this instance, Mr. Higgs filed an unopposed motion

to intervene and complaint on September 1, 2020. ECF Nos. 229, 229-1. The Government

announced Mr. Higgs’s January 15, 2021 execution date on November 20, 2020, without having

provided a basis for this decision and without a designated state for the location and manner of

Mr. Higgs’s execution. See ECF No. 330. This motion follows within two weeks of the

execution being scheduled.



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        8.      Leave to supplement a complaint is “liberally granted,” especially when, as here,

the supplemental claim is factually and legally related to matters in the earlier complaint.

Chadler v. James, 783 F. Supp. 2d 33, 39 (D.D.C. 2011); see also Banks v. York, 448 F. Supp. 2d

213, 214 (D.D.C. 2006) (leave should be “freely granted ... where such supplementation will

promote the economic and speedy disposition of the controversy between the parties, will not

cause undue delay of trial, inconvenience and will not prejudice the rights of any other party”);

Costa v. Bazron, 2020 WL 1935524, at *1, 2 (D.D.C. April 22, 2020) (granting plaintiffs’

motion to supplement six months after original complaint was filed where new allegations arose

out of defendants’ response to the COVID-19 pandemic but were related to original claims and

“time [was] of the essence”).

        9.      Although a supplemental complaint generally supersedes an earlier complaint, the

Court in this case has directed the parties to file Plaintiff-specific claims in a separate filing. See

ECF No. 81. Therefore, Mr. Higgs does not intend for his amended and supplemental complaint

to supplant or otherwise waive any claims from his original complaint, including the claims that

the Government’s 2019 Protocol violates the Eighth Amendment (facially and as applied to Mr.

Higgs) and the Food, Drug and Cosmetic Act.

        10.     Undersigned counsel have consulted with opposing counsel, who states that the

Government opposes the motion for leave to file an amended and supplemental complaint.




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       WHEREFORE, Plaintiff Dustin Higgs respectfully requests that the Court grant him

leave to file the accompanying amended and supplemental complaint.



Dated: December 4, 2020                   Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 4, 2020, I caused a true and correct a copy of the
foregoing motion to be served on all counsel of record via the Court’s CM/ECF system. Pursuant
to this Court’s August 20, 2019 Order, below is a list of all counsel of record. The names marked
with an asterisk (*) have no email provided on the docket and are no longer with the identified
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              ****EXECUTION SCHEDULED FOR JANUARY 15, 2021****

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE FEDERAL                         )
BUREAU OF PRISONS’ EXECUTION                         )
PROTOCOL CASES,                                      )
                                                     )
Lead case:    Roane et al. v. Barr et al.            )
                                                     )
                                                     )       Case No. 19-mc-00145-TSC
                                                     )
THIS DOCUMENT RELATES TO:                            )
                                                     )
Roane et al. v. Barr et al, No. 05-2337              )


  AMENDED AND SUPPLEMENTAL COMPLAINT OF PLAINTIFF DUSTIN HIGGS
      FOR INDIVIDUALIZED INJUNCTIVE AND DECLARATORY RELIEF

                                              I.
                               Nature of Action and Background

       1.     Pursuant to the Court’s Order of February 19, 2020 (ECF No. 81) and Fed. R.

Civ. P. 15 (a) and (d), and in addition to his previous Complaint (ECF No. 229-1), Mr. Higgs

brings this Amended and Supplemental Complaint seeking injunctive and declaratory relief for

violations of his rights under the Fifth and Eighth Amendments, the Ex Post Facto Clause of

Article I, Section 9 of the Constitution, and the Administrative Procedure Act, 5 U.S.C. §§ 500

et seq. and 701 et seq.

       2.     On November 20, 2020, Defendants set an execution date of January 15, 2021,

against Mr. Higgs. See ECF No. 330.

       3.     Pursuant to the Court’s February 19, 2020 Order (ECF No. 81), the circumstances

described herein “warrant . . . a separate filing” concerning “issues that are particular to” Mr.

Higgs. ECF No. 81. Accordingly, Mr. Higgs brings this Amended and Supplemental Complaint



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based on Defendants’ violations of his rights as listed above. Because the Court has allowed

individual plaintiffs to bring claims such as these in a “separate filing,” Mr. Higgs does not

intend for this Supplemental Complaint to supersede his earlier Complaint, including his claims

under the Eighth Amendment and the Food, Drug and Cosmetic Act as made cognizable by the

APA.

       4.      Mr. Higgs realleges and incorporates herein by reference, as if set forth in full

below, the paragraphs of his Complaint that relate to his amended and supplemental claims

(Counts I, II, III, IV, VI, IX & XII). See ECF No. 229-1; In re Federal Bureau of Prisons

Execution Protocol Cases, — F.3d —, No. 20-5340, 2020 WL 6750375 (D.C. Cir., Nov. 19,

2020) (reinstating consolidated Plaintiffs’ Eighth Amendment claim).

                                          II.
Amended and Supplemental Count I: Defendants’ Planned Execution Using Pentobarbital
       is Unconstitutional as an Ex Post Facto Law When Applied to Mr. Higgs

       5.      Mr. Higgs realleges and incorporates herein by reference all of the preceding

paragraphs of this Amended and Supplemental Complaint as if set forth in full below.

       6.      Defendants’ lethal injection protocol and planned execution of Mr. Higgs using

pentobarbital is unconstitutional as an ex post facto law when applied to Mr. Higgs.

       7.      The federal government is prohibited from enacting an ex post facto law. Weaver

v. Graham, 450 U.S. 24, 28 (1981); U.S. Const. Art. I § 9 cl. 3. One function of the Ex Post

Facto Clause is to bar enactments which, by retroactive operation, create “a significant risk” of

increased punishment for a crime after its commission. Garner v. Jones, 529 U.S. 244, 256

(2000); see also In re Medley, 134 U.S. 160, 172 (1890) (execution statute increased the

prisoner’s punishment by keeping the date and time of the prisoner’s execution a secret from

him, which would cause mental anxiety, and therefore was an ex post facto law). The limitations



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of the Ex Post Facto Clause are also “inherent in the notion of due process.” Rogers v.

Tennessee, 532 U.S. 451, 456 (2001). Ex post facto protections operate in this case even though

the 2019 Protocol is not a statute or regulation, and even though Defendants have discretionary

authority to design an execution method as well as to modify it. See Garner, 529 U.S. at 253.

The controlling question is whether the use of the protocol, even if discretionary, has the

“practical effect” of increasing the prisoner’s punishment. Fletcher v. District of Columbia, 391

F.3d 250, 251 (D.C. Cir. 2004).

       8.      When Mr. Higgs’s crimes were committed, and when he was sentenced to death,

the federal death penalty statute required, and continues to require, that capital sentences be

implemented “in the manner prescribed by the law of the State in which the sentence is

imposed.” 18 U.S.C. § 3596(a). Section 3596 further requires that if the State does not provide

for the implementation of a death sentence, the court shall designate another state, and the

sentence shall be implemented in the latter state in the manner prescribed by that state’s law. Id.

       9.      On January 3, 2001, Mr. Higgs was sentenced to death by the United States

District Court for the District of Maryland for the January 27, 1996 killings of Tanji Jackson,

Tamika Black, and Mishann Chinn.

       10.     At the time of Mr. Higgs’s crimes and sentencing, Maryland provided for the

implementation of the death penalty. MD Code, Art 27 § 71 (West) (repealed by Acts 1999); MD

Code Ann., Corr.’ Servs. § 3-905 (West) (repealed by Acts 2013). Consistent with Section

3596(a), the District Court’s Judgment and Order imposed the death sentence to be implemented

in the manner prescribed by Maryland. United States of America v. Dustin Higgs, 8:98-cr-00520




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(ECF No. 640-1 at 2 (Jan. 3, 2001) (Messitte, J.) (ordering sentence “pursuant to Title 18 United

States Code, Section 3591 through 3597, including particularly Sections 3594 and 3596.”). 1

       11.     The Maryland statutes in effect at the time of Mr. Higgs’s crimes and sentencing

required that “[t]he manner of inflicting the punishment of death shall be the continuous

intravenous administration of a lethal quantity of an ultrashort acting barbiturate or other similar

drug in combination with a chemical paralytic agent[.]” § 3-905(a) (emphasis added); see also

Evans .v State, 914 A.2d 25, 76-77 (Md. 2006) (describing the 1994 lethal injection legislation).

In 2013, Maryland abolished the death penalty. S.B. 276, 2013 Leg. 433rd Sess. (Md. 2013).

       12.     The 2019 Addendum to the BOP Execution Protocol replaced a three-drug

procedure that mandated an ultrashort-acting barbiturate as the first drug, with instructions that

all federal executions be conducted via a uniform procedure using intravenous injection of five

grams of pentobarbital. There are two drugs classified as ultrashort-acting barbiturates: sodium

thiopental and methohexital. Pentobarbital is not an ultrashort-acting barbiturate. See Declaration

of Craig W. Stevens, Ph.D, at ⁋ 8 (Dec. 2, 2020) Exhibit A. Pentobarbital is instead classified as

a short-acting barbiturate. Id.

       13.     As described in Claims II and IV of Mr. Higgs’s Complaint (ECF No. 229-1), the

use of pentobarbital as the first drug in the Government’s lethal injection protocol creates a

significant risk of severe pain – namely, the experience of flash pulmonary edema while sensate.




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  Currently pending before the District Court for the District of Maryland is a Motion, filed by
the Government, to Amend Judgment and Order to designate the State of Indiana as the state to
implement Mr. Higgs’s death sentence. United States of America v. Dustin Higgs, No. 8:98-cr-
00520, ECF No. 640 (Aug. 4, 2020).
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       14.       The use of pentobarbital, as compared to the use of an ultrashort-acting

barbiturate, increases the risk that Mr. Higgs will experience flash pulmonary edema while

sensate.

       15.       Defendants do not contest that their lethal injection protocol using the intravenous

injection of five grams of pentobarbital will cause pulmonary edema. Instead, they argue that

when the pulmonary edema occurs, the inmates will no longer be sensate. Based on the parties’

competing evidence, this Court explained that it “continues to be concerned at the possibility that

inmates will suffer excruciating pain during their executions[.]” ECF No. 261 (Sept. 20 Mem.

Op.) at 36.

       16.       The possibility that prisoners will suffer excruciating pain during their executions

is minimized by the use of an ultrashort-acting barbiturate instead of pentobarbital. As its name

suggests, an ultrashort-acting barbiturate has a quicker onset of action when compared to

pentobarbital, and therefore will cause surgical anesthesia or death more rapidly than

pentobarbital. When a person is injected with an ultrashort-acting barbiturate, anesthesia occurs

within ten to thirty seconds. Stevens Decl. at ⁋ 9. A short-acting barbiturate typically takes 30

seconds to one minute for its intended onset of action. Id. at ⁋ 8. “Its effects take significantly

longer to begin than thiopental or methohexital.” Id.

       17.       The difference in the onset of action is crucial. The longer it takes for the

anesthetic properties of the barbiturate administered to take effect, the more pain Mr. Higgs will

experience prior to the onset of anesthesia or death, including pain from flash pulmonary edema

while sensate.

       18.       The substitution of pentobarbital for an ultrashort-acting barbiturate thus increases

Mr. Higgs’s punishment. That showing suffices for an ex post facto claim, regardless of whether



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the Government’s execution method independently violates the Eighth Amendment. See, e.g.,

Williams v. Hobbs, 658 F.3d 842, 848 (8th Cir. 2011) (requiring prisoners to show “more than a

‘speculative and attenuated risk of increasing the measure of punishment attached to the covered

crimes’”) (quoting Cal. Dept. of Corr. v. Morales, 514 U.S. 499, 514 (1995)).

       19.     Because administering the current lethal injection protocol against Mr. Higgs

increases his punishment when compared to the punishment in effect at the time of his crimes

and sentencing, it is unconstitutional as an ex post facto law when applied to Mr. Higgs.

       20.     Because executing Mr. Higgs with pentobarbital under the 2019 Protocol would

violate the Ex Post Facto Clause as well as due process, Defendants’ planned execution is “not

in accordance with law” and is “contrary to constitutional right” under the Administrative

Procedure Act, 5 U.S.C. § 706(2).

                                          III.
   Amended and Supplemental Count II: Defendants’ Arbitrary Selection of Mr. Higgs
            for Execution Violates the Fifth and Eighth Amendments and
                    Is Arbitrary and Capricious Under the APA

       21.     Mr. Higgs realleges and incorporates herein by reference all of the preceding

paragraphs of this Amended and Supplemental Complaint as if set forth in full below.

       22.     The Due Process Clause in the Fifth Amendment requires notice and the

opportunity to be heard before the deprivation of life, liberty, or property.

       23.     The Eighth Amendment forbids the arbitrary imposition and implementation of

capital punishment. “[I]f a State wishes to authorize capital punishment it has a constitutional

responsibility to tailor and apply its law in a manner that avoids the arbitrary and capricious

infliction of the death penalty.” Godfrey v. Georgia, 446 U.S. 420, 428 (1980).

       24.     The Eighth Amendment’s proscription against arbitrariness applies to the

selection of prisoners for execution. “The Eighth Amendment simply cannot be read to proscribe

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a state from randomly selecting which few members of its criminal population it will sentence to

death, but to allow that same state to randomly select which trivial few of those condemned it

will actually execute.” Jones v. Chappell, 31 F. Supp. 3d 1050, 1063 (C.D. Cal. 2014), rev’d on

other grounds sub nom. Jones v. Davis, 806 F.3d 538 (9th Cir. 2015).

       25.     Under the APA, a reviewing court must set aside any agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

       26.     Agency action that is not the product of reasoned decision-making is arbitrary and

capricious. Motor Vehicle Mfrs. Ass’n of United States, Inc. v. State Farm Mut. Auto Ins. Co.,

463 U.S. 29, 43 (1983). To satisfy the requirement of reasoned decision-making, an agency must

“cogently explain why it has exercised its discretion in a given manner.” Id. at 48.

       27.     For more than 17 years, no federal death sentence was carried out. Then, in July

2020, Defendants restarted federal executions. In less than three months, the federal government

executed seven people—more than the total number executed over the previous six decades.

       28.     According to data from the Espy file—a compilation of executions in the colonies

and United States since 1602—if all five currently scheduled executions go forward, the thirteen

total federal civilian executions will be the most in a single year since 1896, when the Grover

Cleveland administration carried out 16 executions during his second presidency. See <<

https://deathpenaltyinfo.org/executions/executions-overview/executions-in-the-u-s-1608-2002-

the-espy-file>>. The soaring number of federal executions comes at the same time that states are

on track to perform the fewest executions in 37 years. Id.




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       29.     Defendants, including the Attorney General, have not codified, memorialized, or

otherwise disclosed any set of standards or criteria by which the government chooses which

prisoners it will schedule for execution.

       30.     On November 7, 2020, Joseph R. Biden, Jr., and Kamala Harris were named

President-Elect and Vice President-Elect of the United States, respectively. They will formally

assume their new offices on January 20, 2021. President-Elect Biden supports ceasing federal

executions, and Democratic members of Congress have now called for the suspension of federal

executions during the lame-duck period. See https://joebiden.com/justice/# (“Biden will work to

pass legislation to eliminate the death penalty at the federal level . . . These individuals should

instead serve life sentences without probation or parole.”); Scott Shackford, “Dems Ask Trump

Administration to Stop Executing Inmates Ahead of Biden Transition,” (Nov. 17, 2020),

available at <<https://reason.com/2020/11/17/dems-ask-trump-administration-to-stop-executing-

inmates-ahead-of-biden-transition/>>.

       31.     The Death Penalty Information Center currently lists 54 prisoners as federally

death-sentenced. See <<https://deathpenaltyinfo.org/state-and-federal-info/federal-death-

penalty/list-of-federal-death-row-prisoners>>. From among those 54 prisoners, the Attorney

General chose five to execute in December 2020 and January 2021. Plaintiff Higgs is the last of

those five; his execution is scheduled for January 15, 2021. Defendants have provided no basis

whatsoever to justify this decision.

       32.     Defendants have previously invoked the interest of crime victims in “timely”

enforcement of a death sentence. See, e.g., ECF No. 16 (Defendants’ Opposition to Plaintiff

Daniel Lewis Lee’s Motion for a Preliminary Injunction), at 45. Nevertheless, Defendants have

not followed a practice of scheduling executions according to the length of time that has passed



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since a sentence was imposed, the length of time since a crime was committed, or even the

length of time since the prisoner finished an initial round of post-conviction remedies. Of the 54

prisoners currently on death row, eight were sentenced to death earlier than Mr. Higgs.

       33.     The absence of discernible criteria creates a legal vacuum for deciding which

prisoners will suffer the ultimate punishment, leading to arbitrary decision-making on the

weightiest question a government can address. The mere fact that a prisoner has been convicted

and sentenced to death, and that the sentence has survived appellate and post-conviction review,

does not cure the arbitrariness with which the sentence is carried out. “Arbitrariness in execution

is still arbitrary, regardless of when in the process the arbitrariness arises.” Jones, 31 F. Supp. 3d

at 1063.

       34.     In addition to lacking standards, the Attorney General’s exercise of discretion is

unilateral and lacks any judicial or executive oversight. At no point does a warrant issue from a

federal court or the President, and at no point does the prisoner have the opportunity to argue

against the issuance of a warrant in light of current legal proceedings, prospective litigation, or

other circumstances that militate against scheduling an execution.

       35.     Defendants claim to have modeled their execution method after those in Georgia,

Missouri, and Texas. See Roane v. Gonzales, No. 1:05-cv-02337-TSC, ECF No. 389-1, at 1

(press release dated July 25, 2019). Nevertheless, all of those states provide for an execution

warrant to be issued by a court, and even then, only on a showing by the prosecutor or attorney

general that a death warrant is justified. See Mo. Sup. Ct. R. 30.30(d); Tex. Code Crim. Proc.

Art. 43.141; Ga. St. § 17-10-40(a).

       36.     Other than the federal government, there is not a single death penalty jurisdiction

within the United States that gives law enforcement the unilateral discretion to select prisoners



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for execution and to schedule their deaths. Even federal military executions must be approved by

the President. See Department of the Army, Army Reg. 190-55 (§ 1-4(a)(3)).

       37.     Granting the Attorney General unfettered discretion has, in practice, led to a

completely arbitrary process for determining who lives and who dies. There are no limits to

cabin executive discretion, there are no guidelines for the selection process, and the entire

process is cloaked in secrecy. Cf. Furman v. Georgia, 408 U.S. 238, 309-10 (1972) (Stewart, J.,

concurring) (“These death sentences are cruel and unusual in the same way that being struck by

lightning is cruel and unusual. For, of all the people convicted of rapes and murders . . . many

just as reprehensible as these, the petitioners are among a capriciously selected random handful

upon whom the sentence of death has in fact been imposed.”).

       38.     The lame-duck period enhances the arbitrariness of Mr. Higgs’s selection for an

execution on January 15, 2021. Prior to the current administration, the last time the United States

government carried out an execution between a presidential election and the inauguration of the

new president was nearly 132 years ago, on January 25, 1889. At no point has the federal

government ever conducted such an execution knowing that the new administration would not

proceed with the execution.

       39.     President-Elect Biden’s objectives for criminal justice reform include the

elimination of the federal death penalty. Vice President-Elect Kamala Harris is an original

cosponsor of legislation introduced in the U.S. Senate to eliminate the federal death penalty. See

Tal Axelrod, “Booker, Durbin and Leahy Introduce Bill to Ban Death Penalty,” Apr. 13, 2019,

available at <<https://thehill.com/homenews/senate/455597-senate-dems-introduce-bill-to-ban-

death-penalty>>. Executing Plaintiff will arbitrarily deprive him of life five days before

President-Elect Biden and Vice President-Elect Harris are formally sworn into office and are



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able to put a stop to this unprecedented rush of federal executions—a deprivation stemming from

the happenstance that the current Attorney General selected Mr. Higgs for execution instead of

any of the scores of federally death-sentenced prisoners.

       40.     The foregoing is a violation of the Due Process Clause, the Eighth Amendment,

and the APA’s prohibition against agency actions that are “arbitrary and capricious,” “not in

accordance with law,” or “contrary to constitutional right.”

                                         Prayer for Relief

       WHEREFORE, in order to prevent the above-alleged violations of Mr. Higgs’s rights

under the Fifth Amendment, the Eighth Amendment, the Ex Post Facto Clause of Article I,

Section 9 of the Constitution, and the APA, Plaintiff respectfully requests that this Court enter a

judgment:

       a.      declaring that Defendants’ planned use of pentobarbital pursuant the 2019 lethal

injection to execute Plaintiff, as well as Defendants’ selection of Plaintiff for execution on

January 15, 2021, violate the Constitution and are arbitrary and capricious and “not in

accordance with law” under the APA;

       b.      enjoining Defendants from executing Mr. Higgs as scheduled on January 15,

2021, or on any other date until such time as Defendants’ method of administering death

sentences complies with the statutory and Constitutional provisions described herein; and

       c.      granting such further relief as the Court deems just and proper.




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Dated: December 4, 2020            Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2020, I caused a true and correct a copy of the
foregoing amended and supplemental complaint and the exhibits thereto to be served on all
counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August 20, 2019
Order, below is a list of all counsel of record. The names marked with an asterisk (*) have no
email provided on the docket and are no longer with the identified firms.

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            EXHIBIT A
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                          DECLARATION OF CRAIG W. STEVENS, Ph.D.
I, Craig W. Stevens, Ph.D., do hereby affirm and attest under penalty of perjury:
1.     I am a full-time faculty member in the department of Pharmacology and Physiology at the
College of Osteopathic Medicine, a unit of Oklahoma State University, Center for Health Sciences
campus in Tulsa, Oklahoma. After receiving my Ph.D. in Pharmacology from the Mayo Clinic, in
Rochester, Minnesota, I completed a 2-year postdoctoral fellowship at the University of
Minnesota Medical School in Minneapolis, Minnesota, and secured a position as an Assistant
Professor of Pharmacology with my present employer in 1990. I advanced through the academic
ranks to Associate Professor of Pharmacology in 1993, and Professor of Pharmacology in 2000.
2.       Besides my regular duties of teaching medical students, pursuing research and scholarly
activities, and serving on college committees, I work part-time as a litigation consultant/expert
witness on cases involving pharmacological issues. I have consulted in both civil and criminal
cases, working with both the prosecution or plaintiff and the defendant. With regard to the
pharmacological issues of lethal injection, I have worked as a consultant with the state as well as
with attorneys representing condemned inmates.
3.     I have been retained by counsel for Dustin Higgs. Counsel have asked me to provide the
Court with information regarding the classification and function of lethal injection drugs.
4.     I have reviewed the following case materials in preparing this Affidavit: the Maryland
statute §3-905 “Method of Execution”; Federal Bureau of Prisons “BOP Execution Protocol” 2019
(redacted); “ADDENDUM TO BOP EXECUTION PROTOCOL FEDERAL DEATH SENTENCE
IMPLEMENTATION PROCEDURES,” effective JULY 25, 2019; the Declaration of Joseph F.
Antognini, M.D., M.B.A, and his Supplemental Report; the Expert Declaration of Gail A. Van
Norman, M.D. and her Supplemental Report, and Expert Declaration of Mark A. Edgar, M.D.
5.      Barbiturates are a drug group that derive from barbituric acid. Barbiturates depress the
central nervous system and have been used as sedatives and hypnotic drugs for over a century.
6.      Barbiturates are divided into the following classes: ultra-short-acting, short-acting,
intermediate-acting, and long-acting. The classifications refer to the time of onset and duration
of the drug effects. These classifications are widely accepted in the field of pharmacology.
7.     I am aware of two ultra-short-acting barbiturates: sodium thiopental and methohexital.
Short-acting barbiturates include pentobarbital and secobarbital.         Intermediate-acting
barbiturates include amobarbital and butabarbital.          Long-acting barbiturates include
phenobarbital and mephobarbital.
8.      As indicated above, pentobarbital is not an ultra-short-acting barbiturate and has never
been classified as such. Pentobarbital has an onset of action time of 30 seconds to 1 minute. Its
effects take significant longer to begin than thiopental or methohexital.
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9.       Thiopental, the most frequently used ultra-short-acting barbiturate, was used for surgery
of short duration. The onset of anesthesia is within 10 to 30 seconds, because thiopental is so
lipid soluble that it rapidly enters the brain.
10.    The ultra-short-acting barbiturate, thiopental, is no longer commercially available.
11.    The ultra-short-acting barbiturate, methohexital, is commercially available.
12.     In pharmacology, chemical paralytic agents are synonymous with neuromuscular
blockers. Paralytics by themselves do not lessen a patient’s awareness of pain. Rather, they
inhibit muscle action and thus prevent movement. They are typically used during surgical
procedures in combination with analgesics and general anesthetics. Common chemical paralytic
agents include pancuronium, vecuronium, and rocuronium.
13.    Pentobarbital is not a chemical paralytic and has never been classified as such.
14.    Attached hereto is my curriculum vitae.
I hereby certify that the facts set forth above are true and correct to the best of my personal
knowledge, information, and belief, subject to the penalty of perjury.


_____________________________                        December 2, 2020
                                                    _____________________
Craig W. Stevens, Ph.D.                             Date
